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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-cv-25176-BLOOM/Otazo-Reyes

  ODETTE BLANCO DE FERNANDEZ née
  BLANCO ROSELL,

         Plaintiff,

  v.

  SEABOARD MARINE, LTD.,

       Defendant.
  _____________________________________/

    DEFENDANT SEABOARD MARINE, LTD.’S NOTICE OF DISCOVERY HEARING

         Defendant Seaboard Marine, Ltd. (“Seaboard Marine”) hereby provides this notice

  regarding the hearing scheduled for February 24, 2022, at 3:30 p.m. concerning two discovery

  disputes, which hearing was coordinated with counsel for Plaintiff Odette Blanco de Fernandez on

  Friday, February 11, 2022. Seaboard Marine seeks resolution of the following disputes involving

  Plaintiff Odette Blanco de Fernandez’s errata sheets relating to her December 17, 2021 deposition

  and certain Rule 45 subpoenas for deposition duces tecum served by Plaintiff upon non-parties.


  Issue No. 1:   The Court Should Strike Plaintiff’s Errata Sheet and Amended Errata Sheet
                 Relating to Her December 17, 2021, Deposition.

         Plaintiff’s counsel noticed the deposition of Plaintiff to preserve her testimony for trial.

  (Ex. A, M. White Oct. 8, 2021 E-Mail.) Seaboard Marine agreed to the sequence proposed—that

  Plaintiff’s counsel would first take Plaintiff’s deposition and Seaboard Marine would take

  Plaintiff’s deposition later that same week. (Ex. B, R. Brochin Oct. 12, 2021 E-Mail.) Plaintiff’s

  counsel took Plaintiff’s deposition on December 14, 2021, (see Ex. C, Notice of Dec. 14




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  Deposition) and Seaboard Marine took Plaintiff’s deposition on December 17, 2021, (see Ex. D,

  Notice of Dec. 17 Deposition).

          Plaintiff’s claim under Title III of the Helms-Burton Act is predicated on having

  ownership of a claim to the Cuban companies Maritima Mariel S.A. and Azucarera Mariel S.A.

  (See ECF No. 45 ¶¶ 67, 71, 74.) Plaintiff testified at her December 17, 2021 deposition that she

  never owned or was a shareholder in Maritima Mariel, S.A., and that she does not recall who did

  own Maritima Mariel S.A. (Ex E, Dec. 17, 2021 Dep. Tr. of Plf., at 124:21–22; 125:3–10.)

  Plaintiff offered similar testimony regarding Azucarera Mariel S.A., including that she does not

  know whether she or anyone in her family had an ownership interest in Azucarera Mariel S.A. (Id.

  81:12–15). Plaintiff testified that she was unable to recall whether she ever owned any shares of

  stock in any Cuban corporation. (Id. at 82:21–22.)1

         On January 18, 2022 Seaboard Marine filed a motion to dismiss for lack of subject matter

  jurisdiction under Rule 12(b)(1), arguing that Plaintiff could offer no evidence—her own

  testimony included—to show that she held the ownership interests in the “Confiscated Property”

  alleged in the Amended Complaint and, as a result, could not establish the “injury in fact”

  requirement for standing. (ECF No. 93, the “Motion to Dismiss”.)

         On the night of January 18—after Seaboard Marine filed its Motion to Dismiss and more

  than a month after Plaintiff’s second deposition—counsel for Plaintiff wrote to counsel for



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          After the conclusion of questioning by Seaboard Marine’s counsel, rather than question the
  witness, Plaintiff counsel stated: “I’m going to reserve my questions.” (Ex. E, Dec. 17, 2021 Dep.
  Tr. of Plaintiff, at 179:13–14.) Without raising the issue during questioning by Seaboard Marine,
  Plaintiff’s counsel claimed that Plaintiff was exhausted and had been subjected to “harassing”
  questions. (Id. at 181:11–14.) Seaboard Marine’s counsel suggested that Plaintiff could take a
  break to rest before Plaintiff’s counsel’s questioning or alternatively return the following day to
  complete Plaintiff’s counsel’s questioning, which offers Plaintiff’s counsel declined. (Id. 181:8–
  10, 182:8–183:7.)

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  Seaboard Marine, stating, “[f]urther to Seaboard Marine’s deposition of Ms. Fernandez, we would

  like to do our examination of Ms. Fernandez on January 26 at 2:30 pm.” (Ex. F, M. White Jan. 18

  E-Mail.) Seaboard Marine did not consent to a third deposition of Plaintiff. (Ex. G, R. Brochin

  Jan. 19 E-Mail.) On January 24, Plaintiff’s counsel filed a Notice of Hearing (ECF No. 99),

  scheduling a discovery hearing for January 28, 2022, which included the issue of Plaintiff’s

  “request[] to resume” Plaintiff’s deposition. (Ex. H, M. White Jan. 21 E-Mail.)

         On January 27—more than a week after Seaboard Marine filed its Motion to Dismiss, but

  before the deadline for Plaintiff to respond—counsel for Plaintiff served an errata sheet for the

  December 17 deposition of Plaintiff, and advised Seaboard Marine that Plaintiff would,

  “[p]ursuant to Plaintiff’s errata [s]heet,” be treating the December 17 deposition as “concluded.”

  (Ex. I, M. White Jan. 27 E-Mail); (ECF No. 108-8) (the “Jan. 27 Errata Sheet”).) That evening,

  the night before the January 28 discovery hearing noticed by Plaintiff, Plaintiff’s counsel advised

  that it was withdrawing its “request[] to resume” Plaintiff’s deposition as an issue for the discovery

  hearing. Plaintiff’s counsel requested that Seaboard Marine amend its pending Motion to Dismiss

  in light of the errata changes; Seaboard Marine declined. (Ex. J, M. Papkin Jan. 27 E-Mail.)

         The Jan. 27 Errata Sheet materially altered Plaintiff’s testimony, including, for example,

  Plaintiff’s testimony that she did not know who owned Maritima Mariel S.A. or Azucarera Mariel

  S.A. and that she was never a shareholder in Maritima Mariel S.A. (See ECF No. 108-8 at 3-4.)

  Seaboard Marine relied upon that and related testimony in its Motion to Dismiss to support its

  argument that Plaintiff is unable to offer competent, credible evidence establishing the ownership

  interests she claimed to have held. (See ECF No. 113 at 7-8.) The Jan. 27 Errata Sheet also

  violated Federal Rule of Civil Procedure 30(e)(1)(B) by failing to identify any reason for any of

  the changes to Plaintiff’s testimony. (ECF No. 108-8); Fed. R. Civ. P. 30(e)(1)(B) (providing that,



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  “if there are changes in form or substance” to a deponent’s deposition testimony, the deponent

  must “sign a statement listing the changes and the reasons for making them.”).

         On February 8, 2022—the deadline for Seaboard Marine’s reply in support of its Motion

  to Dismiss—Plaintiff served and filed an “amended” errata sheet relating to the December 17

  deposition. (ECF No. 112, the “Feb. 8 Errata Sheet”.) The Feb. 8 Errata Sheet was untimely under

  Rule 30, which requires any changes to deposition testimony be stated, explained, and signed by

  the deponent within “30 days after being notified . . . that the transcript or recording is available

  . . . .” Fed. R. Civ. P. 30(e)(1)(B).2 The reason listed for nearly all of the changes to Plaintiff’s

  testimony is: “Clarifying testimony to be in line with my other testimony and the other documents

  in the case.” (ECF No. 112 at 5–10.)

         Seaboard Marine requests that the Court strike the Feb. 8 Errata Sheet and the Jan. 27 Errata

  Sheet because they are improper attempts to materially change Plaintiff’s testimony for the purpose

  of avoiding dismissal.


  Issue No. 2:   Seaboard Marine Seeks a Protective Order Regarding the Subpoenas for
                 Deposition Duces Tecum Served on Non-Parties.

         On February 17, 2022, Plaintiff provided notice to Seaboard Marine of its intent to serve

  subpoenas for documents and testimony to non-parties David Dannov, Ralph Moss, and Donald

  Retreage. (Ex. L, E. Byrne Feb. 17 E-Mail and enclosed deposition notices and subpoenas.) None

  of these individuals is an employee of Seaboard Marine and none appears to have had any

  involvement in Seaboard Marine’s transportation of shipping containers to the Port of Mariel in



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          According to Plaintiff’s counsel, “the court reporter notified Plaintiff’s counsel that the
  transcript was available and provided a copy of the transcript” to Plaintiff’s counsel “[o]n
  December 28, 2021,” more than 30 days before the Feb. 8 Errata Sheet was served. (Ex. K, M.
  White Feb. 8 Letter to R. Brochin.)

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  Cuba—the sole alleged basis for Plaintiff’s claim under Title III of the Helms-Burton Act. (ECF

  No. 45.)

          The categories of documents Plaintiff seeks from these non-parties in advance of their

  depositions consist of communications and documents with or relating to a host of individuals in

  Africa and Middle East and entities with no conceivable relevance to the claims or defenses in this

  litigation. (See Ex. L at 9, 17, 25.)

          In a separate Helms-Burton action against Seaboard Corporation (the parent company of

  Seaboard Marine), pending in the U.S. District Court for the District of Delaware, this same

  Plaintiff as well as the plaintiffs who have been dismissed from this action have asserted various

  unsubstantiated and irrelevant allegations regarding Seaboard Corporation’s purported

  “willingness to do business with individuals and entities associated with terrorism . . . .” Fernandez

  v. Seaboard Corp., No. 21-01052 (D. Del.) (ECF No. 14 at ¶¶ 10-15). Among other things, the

  allegations accuse Seaboard Corporation of having ties to Kassim Tajideen, Mohammed Bazzi,

  Premier Investment Group, and others, in connection to activity in Africa and the Middle East. Id.

  The subpoenas to Messrs. Dannov, Moss, and Retreage in this case seek material relating to the

  abovementioned individuals and entities. The recently noticed subpoenas come on the heels of

  Plaintiff’s service of two purported “expert rebuttal” reports claiming that non-party Seaboard

  Corporation had business dealings with individuals and entities “associated with terrorism”

  including many of the persons referenced in the Complaint against Seaboard Corporation and now

  in the subject subpoenas. During a meet-and-confer discussion on Tuesday, February 22, 2022

  (today), Plaintiff’s counsel confirmed that the purpose of the discovery sought by way of the

  subpoenas is to try to demonstrate that Seaboard Marine’s parent company associates with

  terrorists and participates in a purported “pattern and practice” of sanctions violations, which,



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  according to Plaintiff, somehow shows that Seaboard Marine “knowingly and intentionally”

  trafficked in confiscated property in Cuba under 22 U.S.C. 6023(13)(A).

         Seaboard Marine seeks a protective order denying Plaintiff the discovery attempted

  through subpoenas for deposition duces tecum to Messrs. Dannov, Moss, and Retreage.

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         Undersigned counsel hereby certifies that counsel for Seaboard Marine and counsel for

  Plaintiff, in compliance with Local Rule 7.1(a)(3), conferred in good faith regarding the disputes

  identified in this Notice of Hearing, but the parties were unable to resolve their disagreements.

  Dated: February 22, 2022                             s/ Robert M. Brochin
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